     Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 1 of 37 PageID #: 1




                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                        BOWLING GREEN DIVISION


ROBERT YELL,                                 )
                                             )
              PLAINTIFF ,                    )
                                             )
v.                                           )    CASE NO. 1:20-cv-47-GNS
                                             )
The CITY OF RUSSELLVILLE;                    )
RUSELLVILLE POLICE OFFICERS                  )
KENNETH EDMONDS, JOHN E.                     )
HIGGINS,                                     )
CHAD EGGLESTON, RONALD MILLS,                )
and JIM PENDERGRAF,                          )
in their individual capacities;              )
KENTUCKY STATE POLICE OFFICERS               )
DAVID WEST, JAMAN CHILDERS, and              )
WILLIAM T. SMITH, in their individual        )
capacities;                                  )    JURY TRIAL DEMANDED
SCOTT COUNTY SHERIFF’S DEPUTY                )
and                                          )
GEORGETOWN FIRE DEPARTMENT                   )
CAPTIAN BUSTER CANNON, in his                )
individual capacity; SCOTT COUNTY;           )
CITY OF GEORGETOWN, Kentucky;                )
DEPUTY STATE FIRE MARSHAL                    )
ALAN GREGORY, in his individual              )
capacity; the Estate of STATE FIRE           )
MARSHAL SAMUEL JACK FLOWERS,                 )
in his individual capacity;                  )    COMPLAINT
LOGAN COUNTY DETENTION CENTER                )
JAILER BILL JENKINS, in his individual
capacity; and LOGAN COUNTY.                  )
                                             )
              DEFENDANTS.                    )




                                         1
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 2 of 37 PageID #: 2




                                     COMPLAINT

      NOW COMES Plaintiff, ROBERT YELL, by his attorneys LOEVY & LOEVY,

and complaining of Defendants CITY OF RUSSELVILLE, Kentucky; Russellville

Police Officers KENNETH EDMONDS, JOHN E. HIGGINS, CHAD EGGLESTON

RONALD MILLS, and JIM PENDERGRAF and other unknown officers from the

Russellville Police Department, in their individual capacities; Kentucky State Police

Officers DAVID WEST, JAMAN CHILDERS, and WILLIAM T. SMITH, and other

unknown officers from the Kentucky State Police, in their individual capacities;

Scott County Sheriff’s Deputy and Georgetown Fire Department Captain BUSTER

CANNON, in his individual capacities; SCOTT COUNTY, Kentucky; City of

Georgetown, Kentucky; Deputy State Fire Marshal ALAN GREGORY, in his

individual capacity; the ESTATE OF STATE FIRE MARSHAL SAMUEL JACK

FLOWERS, in his individual capacity; LOGAN COUNTY DETENTION CENTER

JAILER BILL JENKINS, in his individual capacity, and other unknown employees

of the Logan County Detention Center; and LOGAN COUNTY, Kentucky and states

as follows:

                                INTRODUCTION

      1.      On   September   11,    2004,    Plaintiff   Robert   Yell   suffered   the

unimaginable: his two-year-old son Cameron perished in a trailer fire.

      2.      Mr. Yell’s eleven-month-old daughter Saralynn sustained third-degree

burns over 50% of her body in the blaze.




                                           2
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 3 of 37 PageID #: 3




      3.     Robbed of the opportunity to grieve for his son and care for his injured

daughter, Mr. Yell spent the next fifteen years fighting to clear his name after the

Defendants conspired to frame him for various offenses, including: the capital

murder of Cameron, the attempted murder of Saralynn, and first-degree of arson.

      4.     Plaintiff did not commit the crimes.

      5.     There was no reliable evidence that the fire was intentional.

      6.     Nonetheless, Defendants fabricated a false narrative in order to

quickly “solve” a high-profile tragedy, naming Mr. Yell a suspect at the scene – even

before investigating the blaze.

      7.     In so doing, Defendants from the Russellville Police Departments and

the Kentucky State Police fabricated incriminating statements allegedly made by

Mr. Yell at the scene, in a police cruiser on the way to the Logan County Detention

Center (hereinafter LCDC), and at the LCDC.

      8.     Additionally, Defendant Higgins physically assaulted Yell and pepper

sprayed him multiple times, some of which occurred in the sally port.

      9.     To conceal the fabrication of the statements and the assault, the

Defendants Officers conspired with the Defendant LCDC Jailer to withhold and/or

destroy an exculpatory video of the actions taken by Defendant John E. Higgins in

the sally port at the LCDC and a report from a deputy jailer regarding what truly

occurred in that sally port.

      10.    To ensure Mr. Yell would be charged and prosecuted, the Defendants

ignored the leading fire investigation methodologies of the time, intentionally



                                         3
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 4 of 37 PageID #: 4




applying “junk science” instead, while falsely attributing arson as the cause of the

blaze.

         11.   In so doing, they knowingly relied upon false “hits” of an accelerant

detection canine (ADC).

         12.   Defendants’ misdeeds were scientifically proven to be false, as

laboratory testing has determined that no evidence of accelerants was found at the

scene or on Mr. Yell and his clothing.

         13.   This manifest injustice was not the result of mere flaws in the

investigation undertaken by the Defendants. Rather, the Defendants named herein

conspired to take Mr. Yell’s liberty by knowingly initiating false charges against

him.

         14.   As a result of the Defendants’ fabricated evidence against Mr. Yell, he

was charged with capital crimes and wrongfully convicted of first-degree arson,

second-degree manslaughter, and first-degree assault. The Logan Circuit Court

sentenced him to 52 years’ imprisonment.

         15.   Over fourteen years later, on March 18, 2019, the Logan Circuit Court

entered an Order granting the Commonwealth of Kentucky’s request to dismiss all

charges against Mr. Yell.

         16.   Mr. Yell now brings this lawsuit seeking justice for the harm caused to

him by the Defendants’ misconduct and seeking to enforce the Constitutional right

to liberty guaranteed to all citizens by the United States Constitution.




                                           4
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 5 of 37 PageID #: 5




                                Jurisdiction and Venue

       17.    This action is brought pursuant to 42 U.S.C. § 1983 and Kentucky law

to redress the deprivation under color of law of Plaintiff’s rights as secured by the

U.S. Constitution.

       18.    This Court has jurisdiction of Plaintiff’s federal claims pursuant to 28

U.S.C. § 1331 and supplemental jurisdiction of his state-law claims under 28 U.S.C.

§ 1367.

       19.    Venue is proper under 28 U.S.C. § 1391(b) and (c). Plaintiff resides in

this judicial district and the events and omissions giving rise to Plaintiff’s claims

occurred within this judicial district. Additionally, on information and belief, all

parties reside in this judicial district and are subject to the personal jurisdiction of

the courts of this judicial district.

                                        The Parties

       20.    Plaintiff Robert Yell spent 12 years in prison for crimes he did not

commit and over two years more fighting to clear his name. He was only 27 years

old when falsely charged. He is a resident of Logan County, Kentucky.

       21.    At all relevant times, Defendants Robert Edmonds, John E. Higgins,

Chad Eggleston and Ronald Mills were officers with the Russellville Police

Department. These Defendants were responsible for investigating crimes, including

the alleged crimes at issue in this case, and/or for supervising other Russellville

police officer Defendants. Defendant Edmonds was the lead investigator for the

Russellville Police Department in this case and charged Plaintiff with murder,



                                           5
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 6 of 37 PageID #: 6




attempted murder, and fourth-degree assault. Defendant Higgins charged Plaintiff

with alcohol intoxication, disorderly conduct and resisting arrest. Each of these

Defendant Officers are sued in their individual capacities, and each acted under

color of law and within the scope of their employment in engaging in the actions

alleged in this complaint.

      22.    At all relevant times, Defendant Jim Pendergraf was the Chief of

Police at the Russellville Police Department. He was in charge of supervising other

Defendant Russellville Officers. Pendergraf is sued in his individual and official

capacity, and he acted under color of law and within the scope of his employment in

engaging in the actions alleged in this complaint.

      23.    Defendants Edmonds, Higgins, Eggleston, Mills, and Pendergraf are

collectively referred to as the “Defendant Russellville Officers.”

      24.    Defendant City of Russellville, Kentucky is a political subdivision of

the Commonwealth of Kentucky and is a home-rule class city. Defendant City of

Russellville is responsible for the policies, practices, and customs of the Russellville

Police Department. Defendant City of Russellville is liable for all torts committed by

the Defendant Russellville Officers pursuant to the doctrine of respondeat superior.

Finally, Defendant City of Russellville is responsible under Kentucky law for any

judgment entered against Defendant Russellville Officers.

      25.    At all relevant times, Defendants David West, Jaman Childers, and

William T. Smith were officers with the Kentucky State Police (KSP). These

Defendants were responsible for investigating crimes, including the alleged crimes



                                           6
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 7 of 37 PageID #: 7




at issue in this case, and/or for supervising other KSP Defendants. Defendant West

was a fire investigator with KSP, was the lead KSP investigator in this case, and

brought the charge of arson against Plaintiff. Each of these Defendant Officers are

sued in their individual capacities, and each acted under color of law and within the

scope of their employment in engaging in the actions alleged in this complaint.

      26.    Defendants West, Childers and Smith are collectively referred to as the

“Defendant KSP Officers.”

      27.    At all relevant times, Defendant Buster Cannon was a deputy with the

Scott County Sheriff’s Department, was a Captain with the Georgetown Police

Department, and was an Accelerant Detection Canine handler in this case. He was

responsible for investigating fires in the Commonwealth of Kentucky, including the

fire at issue in this case. He is sued in his individual capacities, and he acted under

color of law and within the scope of his employment in engaging in the actions

alleged in this complaint.

      28.    Defendant Scott County is a political subdivision of the Commonwealth

of Kentucky responsible for the policies, practices and customs of the Scott County

Sheriff’s Department. Scott County is liable for all torts committed by Defendant

Cannon while employed by Scott County, while acting under the color of law and

within the scope of his employment pursuant to the doctrine of respondeat superior.

      29.    Defendant City of Georgetown, Kentucky is a political subdivision of

the Commonwealth of Kentucky and is a home-rule class city. Defendant City of

Georgetown is responsible for the policies, practices, and customs of the Georgetown



                                          7
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 8 of 37 PageID #: 8




Fire Department. Defendant City of Georgetown is liable for all torts committed by

Defendant Cannon pursuant to the doctrine of respondeat superior.                Finally,

Defendant City of Georgetown is responsible under Kentucky law for any judgment

entered against Defendant Cannon.

      30.    At all relevant times, Defendants Alan Gregory and Samuel Jack

Flowers were employed by the Kentucky Fire Marshal’s office. These Defendants

were responsible for investigating fires in the Commonwealth of Kentucky,

including the fire at issue in this case, and/or for supervising other Defendants.

Defendant Gregory was the “primary arson investigator” for the Fire Marshal’s

office on this case. Each of these Defendant Marshals are sued in their individual

capacities, and each acted under color of law and within the scope of their

employment in engaging in the actions alleged in this complaint.

      31.    Defendants Gregory and Flowers are collectively referred to as the

“Defendant Fire Marshals.”

      32.    At all relevant times, Defendant Bill Jenkins was the Jailer at the

Logan County Detention Center. He is sued in his individual capacity, and he acted

under color of law and within the scope of his employment in engaging in the

actions alleged in this complaint.

      33.    Defendant    Logan      County   is   a   political   subdivision   of   the

Commonwealth of Kentucky responsible for the policies, practices and customs of

the Logan County Detention Center. Logan County is liable for all torts committed

by Defendant Jenkins while employed by Logan County, while acting under the



                                          8
  Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 9 of 37 PageID #: 9




color of law and within the scope of his employment pursuant to the doctrine of

respondeat superior.

                                          FACTS

                                         The Fire

        34.   On September 11, 2004 at approximately 7:30 pm, Robert Yell’s trailer

caught fire. His two children, two-year-old Cameron and eleven-month-old

Saralynn, were inside the burning home.

        35.   Mr. Yell’s girlfriend and the mother of his children, April, ran into the

trailer to retrieve Saralynn. Saralynn suffered third-degree burns over 50% of her

body.

        36.   Mr. Yell, too, attempted to run into the burning home to retrieve his

children.

        37.   The Defendant Russellville Officers, however, physically tackled and

dragged Mr. Yell away from the fire, preventing him from entering the trailer to

retrieve Cameron. Tragically, Cameron perished from smoke inhalation before

firefighters were able to pull him out of the blaze.

        38.   Defendant Russellville Officers Higgins and Mills arrested Mr. Yell at

the scene for alcohol intoxication.

                          Plaintiff Did Not Set Fire to His Home

        39.   Plaintiff Yell did not set fire to his trailer.

        40.   In fact, the fire was not an incendiary fire at all.




                                              9
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 10 of 37 PageID #: 10




       41.     When Mr. Yell learned his home was on fire, he raced to it. Defendant

Russellville Officers stopped him from running into the trailer, tackling him in his

front yard and forcing him to watch the burning home before physically pulling him

away from the scene.

       42.     Laboratory testing of Mr. Yell’s hands and clothing tested negative for

accelerants.

       43.     Rather than truly investigate the fire, the Defendant Russellville

Officers, the Defendant KSP Officers, the Defendant Fire Marshals, and Defendant

Cannon short-circuited the process and myopically focused on Mr. Yell to solve what

they said was a crime.

       44.     The Defendants named Mr. Yell a “suspect” before even conducting a

fire investigation.

         The Physical Evidence Never Supported the Theory that the Fire
                            Was an Intentional Fire

       45.     To this day, there is no physical evidence that the fire was deliberately

set.

       46.     Instead, all the evidence at the crime scene was consistent with an

accidental fire.

       47.     For example, the burn patterns were entirely consistent with a fire

that began without the use of an accelerant.

       48.     Further, laboratory testing confirmed the absence of accelerants at the

scene and on Mr. Yell’s person.




                                           10
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 11 of 37 PageID #: 11




         Defendants Manufactured Evidence to Support Their Fabricated
                   Claims that the Fire was Intentionally Set

      49.    To get around the obvious problem of no accelerants being found on

Mr. Yell or at the scene, the Defendants fabricated conclusions as to the cause of the

blaze that were not scientifically supported, relied upon unconfirmed “hits” by an

accelerant detection canine (ADC), failed to document possible accidental sources of

the fire, and manufactured false statements incriminating Mr. Yell. The fabricated

evidence was inconsistent with the crime scene and all legitimate conclusions that

could be drawn from it.

      50.    For instance, Defendants West, Cannon, Gregory and Flowers

fabricated their conclusions that the fire was intentional by employing “pre-

flashover” methods to investigate a “post-flashover fire” - even though fire science

did not support those conclusions at the time.

      51.    Specifically, the Defendants falsely stated that burn patterns and floor

burn-through indicated an ignitable liquid had been poured onto the floor. In so

doing, they intentionally ignored the fire science stating that the conditions are not

probative evidence of an incendiary fire with an ignitable liquid but instead

indicative of flashover and full-room involvement.

      52.    Similarly, Defendants West, Cannon, Gregory and Flowers fabricated

findings – known at the time to be false – that there were multiple “points of origin”

of the blaze because of three areas of “low burn” that the Defendants claimed were

separate and unconnected. The scientific evidence, however, revealed the exact




                                         11
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 12 of 37 PageID #: 12




opposite: that the “separate fires” were a natural outgrowth of the initial fire – a

conclusion supported by Defendant Mills’ own observations.

      53.    In this way, Defendant Mills described a rapidly developing trailer fire

that began in the bedroom and quickly spread to the hallway, kitchen and living

room. Defendant Mills witnessed the living room undergo flashover and transition

into full-room involvement. To frame Mr. Yell of arson, the Defendants dismissed

Defendant Mills’ eyewitness account and fraudulently averred multiple points of

origins in a fire where all the alleged points of origin were connected by fire damage

- as supported by scientific evidence.

      54.    Fire science, available and known at the time, demonstrated that the

fire progression and damage were normal and consistent with a non-accelerated

fire. But the Defendants ignored this and intentionally fabricated their acceleration

findings to frame Plaintiff for an arson murder.

   Defendants Used Unconfirmed Alerts of an Accelerant Detection Canine
    to Manufacture Evidence to Support Their Fabricated Claims that the
                        Fire was Intentionally Set

      55.    To further their fabricated claim that the fire was an incendiary fire

for which Mr. Yell was responsible, Defendants West, Cannon, Gregory, Edmonds

and Flowers fabricated unconfirmed alerts of Defendant Cannon’s ADC, PJ.

Specifically, Defendant Cannon alleged that the ADC “hit” on six separate locations

in the living room, kitchen and bedroom of the trailer, indicating an ignitable liquid

was present in each location.




                                         12
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 13 of 37 PageID #: 13




      56.    The scientific evidence, however, revealed otherwise: Subsequent gas

chromatograph examination by the Kentucky State Police Laboratory of all six

samples were negative for the presence of any form of ignitable liquid.

      57.    Continuing their conspiracy to frame Mr. Yell for an intentional arson

and resulting murder, Defendant Gregory called in Defendant Cannon to “verify his

findings” of an incendiary fire. To that end, Defendants Gregory and Cannon met

for breakfast before Defendant Cannon conducted the walk through with PJ so that

Defendant Gregory could tell Defendant Cannon the areas in which he wanted the

dog to concentrate. Defendant Gregory shared other details of the fire with

Defendant Cannon before Defendant Cannon went to the scene, including details of

a domestic altercation Mr. Yell – the “suspect”- and his children’s mother had prior

to the fire and that Mr. Yell had been drinking on the day in question.

      58.    Thereafter, Defendant Cannon conducted an interior “examination” of

the trailer with the ADC. On the initial walk through, Defendant Cannon put her

on a long leash to allow her “to roam as she pleases.” While on the long leash, PJ

failed to alert anywhere.

      59.    To manipulate the “evidence” of an intentional fire and further the

confirmation bias, Defendant Cannon immediately put PJ on a short leash and

showed her where to sniff. Only then did PJ behave (sitting) in a manner that

Defendant Cannon alleged was an alert – in six different spots in the trailer. To

reward this behavior, and further manipulate the evidence, Defendant Cannon told




                                         13
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 14 of 37 PageID #: 14




PJ she was a “pretty girl” and gave her a treat after each “alert.” If she failed to

“alert”, Defendant Cannon did not reward her with food.

      60.    Defendants    West,    Cannon,    Gregory,   Flowers    and    Edmonds

intentionally failed to document or accurately video record the walk through with

PJ so that it could not be properly challenged.       No one, including Defendant

Cannon, retained or disclosed any record of where, how, or with what specific

encouragement PJ sat down six times in the trailer.

      61.    Even after receiving scientific evidence from the KSP laboratory that

there were no ignitable liquids found on the samples on which PJ had alerted,

Defendants Cannon, West, Gregory and Flowers continued in their conspiracy to

frame Mr. Yell for arson. Ignoring the scientific evidence and standards in place at

the time, Defendant Cannon falsely averred that the dog’s nose was “more

sensitive” than a laboratory test and that PJ was nearly 100% accurate in alerting

to the presence of ignitable liquids. He stated as such although he had no records of

the ADC’s accuracy because he kept no logs of PJ’s field work and did no follow-up

to confirm whether she was right or wrong in her hits.

            Defendants Withheld Exculpatory Evidence to Support Their
               Fabricated Claims that the Fire was Intentionally Set

      62.    In furtherance of their quest to falsely establish probable cause against

Mr. Yell, Defendants West, Cannon, Gregory, Flowers intentionally failed to

disclose evidence unearthed during their investigation which illustrated accidental

sources of the fire– as the fire investigation standards mandated at the time.




                                         14
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 15 of 37 PageID #: 15




      63.    Specifically, Defendants West, Cannon, Gregory and Flowers withheld

documentation regarding evaluation of even the most common and likely accidental

ignition sources, such as a failure in the trailer’s electrical system, including a

potential faulty outlet in the southeast bedroom (where the fire began) into which a

window air conditioner unit was plugged, misuse or malfunction of a household

appliance, or a smoldering cigarette.

      The Defendant Officers Fabricated Statements They Attributed To
           Plaintiff To Further Support Their Claims the Fire Was
                              Intentionally Set

      64.    In furtherance of their conspiracy to manufacture evidence against Mr.

Yell for the accidental fire, the Defendant Officers fabricated false statements they

attributed to Mr. Yell. For instance, on September 11, 2004, Defendants Higgins

and Eggleston conspired to manufacture a statement they contend Mr. Yell made at

the scene and on the way to the Logan County Detention Center. Specifically,

Defendant Eggleston stated that Mr. Yell repeatedly said, “If she had done to you

what she done to me, you would have done the same f….thing.” According to

Defendant Eggleston, Mr. Yell allegedly made this statement at the scene – “word

for word” “over and over.” Yet, no other officer reported hearing this purported

statement at the scene.

      65.    Defendant Higgins reported that Mr. Yell allegedly made the same

statement – without any questioning from Defendant Higgins - while sitting in the

back of his cruiser on the way to the LCDC. This statement was fabricated to

bolster the Defendant Russellville Officers’ claims implicating Mr. Yell in the fire.



                                          15
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 16 of 37 PageID #: 16




       66.    Additionally, Defendant Higgins fabricated several other statements

he attributed to Mr. Yell to further the Defendant Russellville Officers’ claims of an

intentional fire, to bring further charges against Mr. Yell, and to further paint him

in a bad light – claims we know to be false because of the eyewitness observations of

a Sergeant at the LCDC. Specifically, Defendant Higgins falsely alleged that while

in the sally port of the LCDC, Mr. Yell threatened to kill Defendant Higgins, that he

said, “You don’t know how evil I am, you better be scared of me,” and that when

advised his son was in the fire, Mr. Yell replied, “I told her. I told her.”

       67.    Defendant Higgins also falsely claimed that Mr. Yell spit blood on him

– blood coming from a cut on Mr. Yell’s lip. Although Defendant Higgins admitted to

striking Mr. Yell in the chest and to pepper spraying him multiple times – while he

was handcuffed- Defendant Higgins conveniently had no explanation for the cause

of Mr. Yell’s split, bleeding lip.

       68.    Sergeant William Porter, a deputy jailer at the LCDC who remained in

the sally port with Defendant Higgins and Mr. Yell during the entirety of their time

in the sally port, observed a completely different picture than the false narrative

manufactured by Defendant Higgins. According to Sgt. Porter, Mr. Yell never

threatened Defendant Higgins and did not spit on Defendant Higgins. Instead, it

was Defendant Higgins who antagonized Mr. Yell, who was deeply distressed,

confused and worried about his children’s wellbeing, by repeatedly asserting, “You

Mother F…., you know you killed your two kids.”




                                            16
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 17 of 37 PageID #: 17




      69.    Further, when Sgt. Porter specifically asked Defendant Higgins if Mr.

Yell had made any incriminating statements (so that he could isolate him from the

general population if so, per policy, since there were child victims), Defendant

Higgins admitted that Mr. Yell had not.

      70.    Despite Mr. Yell’s innocence of the charges, Defendant Higgins

fraudulently charged Mr. Yell with terroristic threatening, menacing, and third-

degree assault for what he falsely reported transpired in the sally port.

      The Defendants Withheld and/or Destroyed Exculpatory Evidence
          from the Logan County Detention Center So They Could
                Bolster Their False Claims Against Mr. Yell

      71.    The Defendants also conspired to withhold and/or destroy exculpatory

evidence from the Logan County Detention Center.

      72.    While in the sally port, Defendant Higgins fabricated claims of Yell

spitting on him, threatening him, and making incriminating statements about the

fire. Higgins antagonized Yell about his children’s well-being, cursed at him, pepper

sprayed him, and physically hit him.

      73.    After Mr. Yell was brought into the LCDC, Sgt. Porter pulled the video

of the sally port and composed a report about the incidents that occurred therein.

Thereafter, he left the video tape and the report on the desk of Defendant Jailer Bill

Jenkins, locked in his office. Sgt. Porter called Defendant Jenkins to inform him of

what had occurred and the whereabouts of the tape and report.

      74.    Despite Sgt. Porter’s attempt to document the physical and emotional

abuse Defendant Higgins inflicted upon Mr. Yell, and Mr. Yell’s innocence of the



                                          17
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 18 of 37 PageID #: 18




charges falsely lodged against him, the Defendants conspired to withhold and/or

destroy the exculpatory evidence, “losing” the tape and report before it could be

disclosed to Mr. Yell.    This evidence would have proved that the Defendants lied

and were framing Plaintiffs for crimes he did not commit.

               Plaintiff’s Wrongful Conviction and Imprisonment

         75.   On September 11, 2004, Defendant Higgins arrested Mr. Yell for

alcohol intoxication, disorderly conduct, and resisting arrest and transported him to

the Logan County Detention Center. While at the LCDC, and after physically

assaulting and emotionally tormenting Mr. Yell, Defendant Higgins added charges

of terroristic threatening, menacing, and third-degree assault against him.

         76.   On September 13, 2004, Defendant West initiated charges against Mr.

Yell for first-degree arson. On that same date, Defendant Edmonds initiated

charges against Mr. Yell for first-degree murder, attempted murder, and fourth-

degree assault, for his son’s death and injuries to his daughter and girlfriend.

         77.   Mr. Yell remained at the Logan County Detention Center until his

trial.

         78.   The Commonwealth filed notice of its intent to seek the death penalty.

         79.   In February of 2006, Plaintiff was tried by a Logan County jury. As a

result of the Defendants’ misconduct, the false evidence they conspired to create,

and the exculpatory evidence they conspired to withhold, Plaintiff was convicted of

first-degree arson, second-degree manslaughter, first-degree assault and two




                                          18
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 19 of 37 PageID #: 19




misdemeanors: disorderly conduct and fourth-degree assault. The Logan Circuit

Court sentenced him to 52-years’ imprisonment.

      80.     Plaintiff denied guilt of setting an intentional fire at every stage of his

arrest, including testifying on his own behalf at trial.

      81.     Without the Defendants’ fabricated evidence of an intentional fire,

      there

was nothing to support a criminal proceeding against Plaintiff for the charged

lodged against him.

                               Plaintiff’s Exoneration

      82.     For over fourteen years, the Defendants contrived to frame Mr. Yell for

arson, resulting in the death of his son and serious injury to his daughter, depriving

him of his freedom without the due process of law.

      83.     Mr. Yell fought his wrongful conviction for over a decade, asserting his

innocence to the charges against him at each step.

      84.     At a two-day evidentiary hearing in December of 2016, Mr. Yell

presented the testimony of two fire investigation experts who established the blaze

was not the result of an intentional fire and that the “evidence” presented by the

Defendants against Mr. Yell was fabricated and in violation of the scientific

methodologies in place at the time of the investigation.

      85.     Thereafter, the Logan Circuit Court entered an order granting Mr. Yell

a new trial. In so doing, the Court held the trial testimony of the Defendants

concerning the fire having multiple points of origin and the canine hits having



                                           19
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 20 of 37 PageID #: 20




indicated the presence of an ignitable liquid was “unreliable and baseless and

should not have been admitted.”

      86.    Ultimately, on March 18, 2019, by motion of the prosecutor, the Logan

Circuit Court entered an Order dismissing the charges of arson, murder, and

attempted murder against Mr. Yell.

                                  Plaintiff’s Damages

      87.    Robert Yell was only 27 years old when his two-year-old son was killed,

and his eleven-month old daughter was injured in a horrific accident. His entire life

was turned upside down with no warning. Maliciously arrested and prosecuted for

the fire and his own son’s death, the Defendants’ misconduct robbed Mr. Yell of the

opportunity to truly grieve Cameron. It traumatizes him still today.

      88.    Instead, Mr. Yell spent the next fourteen plus years defending himself,

his life, and his name for crimes he did not commit. He lived with the fear of

execution.

      89.    He was removed from his home, his vocation, and his family, and

sentenced to 52 years’ imprisonment. While unlawfully detained, he missed out on

his daughter’s childhood and early teenage years, and on multiple holidays,

birthdays, and family gatherings. Both his grandmother and his stepfather died,

and he was unable to attend their funerals.

      90.    Mr. Yell was also deprived of opportunities to engage in meaningful

labor, to develop his career, and to pursue his interests and passions. He has been

deprived of all the basic pleasures of human experience, from the simplest to the



                                         20
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 21 of 37 PageID #: 21




most important, which all free people enjoy as a matter of right, including the

freedom to live one’s life as an autonomous human being.

      91.       Mr. Yell’s years of unlawful arrest, prosecution, and imprisonment

caused him to suffer from extreme trauma, emotional and psychological pain,

including, but not limited to: humiliation, constant fear, severe anxiety, deep

depression, despair, and anger, which persist to this day.

                               FEDERAL LAW CLAIMS

                               Count I – 42 U.S.C. § 1983
                                Malicious Prosecution

      92.       Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

      93.       As described more fully above, all of the Defendants, while acting

individually, jointly and in conspiracy, as well as under color of law and within the

scope of their employment, deprived Mr. Yell of his constitutional right to be free

from unlawful prosecution and continued detention without probable cause.

      94.       In the manner described more fully above, the Defendants made,

influenced and/or participated in the decision to prosecute Mr. Yell for arson, capital

murder, and attempted murder, among other charges, for which prosecution there

was no probable cause and which caused Mr. Yell to suffer a deprivation of liberty.

Their misconduct included falsifying and manipulating evidence and withholding

exculpatory and impeachment evidence.

      95.       As described more fully above, the prosecution was resolved in Mr.

Yell’s favor in a manner indicative of his innocence.


                                            21
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 22 of 37 PageID #: 22




       96.    The Defendants’ misconduct directly resulted in the unlawful

prosecution and continued deprivation of Mr. Yell’s liberty in violation of his

constitutional rights.

       97.    As a result of this violation of his constitutional rights, Mr. Yell

suffered injuries, including, but not limited to: emotional distress, great mental

anguish, humiliation, anxiety, the threat of physical harm, and other injuries as is

more fully alleged above.

       98.    The Defendants’ misconduct, as described in this Count, was

objectively unreasonable and was undertaken intentionally with malice and willful

indifference to Mr. Yell’s constitutional rights.

       99.    The misconduct described in this Count was undertaken pursuant to a

routine practice of the municipal and government Defendants to pursue wrongful

prosecutions and wrongful convictions through reckless investigations and

fabricated evidence. In this way, the municipal and government Defendants

violated Mr. Yell’s rights by maintaining policies and practices that were the

moving force driving the foregoing constitutional violations.

       100.   These widespread practices, so well-settled so as to constitute de facto

policy in the City of Russellville and the other Defendant municipalities and

governments, were able to exist and thrive because city policymakers with authority

over these entities exhibited deliberate indifference to the problem, thereby

effectively ratifying it.




                                           22
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 23 of 37 PageID #: 23




       101.   The widespread practices described in the preceding paragraphs were

allowed to flourish because the municipal and government Defendants declined to

implement sufficient training and/or enforce legitimate oversight and punishment.

                                  Count II – 42 U.S.C. § 1983
                                   Due Process Violations

       102.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

       103.   In   the   manner     described   more   fully   above,   the   Defendants,

individually, jointly and in conspiracy with each other, while acting under color of

law and within the scope of their employment, deprived Mr. Yell of his

constitutional right to a fair trial.

       104.   In the manner described more fully above, Defendants conducted a

reckless investigation, deliberately withheld exculpatory evidence, and fabricated

false reports, false testimony, and other evidence. Absent this misconduct, the

prosecution of Mr. Yell could not and would not have been pursued.

       105.   The Defendants’ misconduct directly resulted in the unjust criminal

conviction of Mr. Yell, thereby denying him his constitutional right to a fair trial in

violation of the Due Process Clause of the Fourteenth Amendment to the United

States Constitution.

       106.   As a direct and proximate result of the Defendants’ actions, Mr. Yell’s

constitutional rights were violated, and he suffered from injuries and damages,

including, but not limited to: the loss of liberty, the threat of physical injury,




                                           23
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 24 of 37 PageID #: 24




emotional pain and suffering, and other grievous and continuing injuries and

damages as set forth above.

      107.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, and with willful indifference to Mr.

Yell’s constitutional rights and innocence.

      108.   Defendants, through affirmative acts or omissions, breached their legal

and constitutional duties to provide exculpatory evidence to Mr. Yell and state

prosecutors, thereby misleading and misdirecting the criminal prosecution of Mr.

Yell and precluding Mr. Yell’s attempts to free himself from his wrongful

imprisonment, including his 2008 RCr 11.42 Motion to Vacate, his 2011 CR 60.02

Motion for a New trial, and his 2016 CR 60.02 Motion for a New Trial.

      109.   Defendants who were supervisors charged with overseeing both the

investigation in the case at hand and the other Defendants knew of the Defendants’

misconduct, the suppression of exculpatory evidence, and the fabrication of a

manufactured case against Mr. Yell. These supervisors, nonetheless, intentionally

ignored Defendants’ misconduct and held Mr. Yell responsible for crimes he did not

commit, rather than directing the officers to go out and fully investigate the fire.

      110.   The misconduct described in this Count was undertaken pursuant to a

routine practice of the municipal and government Defendants to pursue wrongful

prosecutions and wrongful convictions through reckless investigations and

fabricated evidence. In this way, the municipal and government Defendants




                                          24
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 25 of 37 PageID #: 25




violated Mr. Yell’s rights by maintaining policies and practices that were the

moving force driving the foregoing constitutional violations.

      111.   These widespread practices, so well-settled so as to constitute de facto

policy in the City of Russellville and the other Defendant municipalities and

governments, were able to exist and thrive because city and government

policymakers with authority over these entities exhibited deliberate indifference to

the problem, thereby effectively ratifying it.

      112.   The widespread practices described in the preceding paragraphs

flourished because the municipal and government Defendants declined to

implement sufficient training and/or enforce legitimate oversight and punishment.

          Count III – 42 U.S.C. § 1983 – Fourth and Fourteenth Amendments
                             Fabrication of False Evidence

      113.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      114.   In   the   manner    described      more   fully   above,   the   Defendants,

individually, jointly and in conspiracy with each other, fabricated evidence,

including, without limitation: false police reports, fabricated statements attributed

to Mr. Yell, and fabricated testimony introduced at the grand jury and trial

proceedings. The Defendants knowingly fabricated this evidence. A reasonable

likelihood exists that the false evidence affected the decision of the court that

considered this false evidence when determining whether probable cause existed.

      115.   The Defendants were acting under color of law and within their scope

of employment when they took these actions.


                                           25
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 26 of 37 PageID #: 26




       116.   The Defendants’ misconduct directly resulted in the unjust continued

incarceration of Mr. Yell, thereby denying him from his constitutional right to due

process as guaranteed by the U.S. Constitution. In 2004, no reasonable officer or

investigator would have believed that fabricating statements and evidence was

lawful. Absent this misconduct, there would have been no probable cause for

Plaintiff’s continued detention, and the prosecution of Plaintiff could not and would

not have been pursued.

       117.   Defendants, through affirmative acts or omissions, breached their legal

and constitutional duties to provide exculpatory evidence to Mr. Yell and state

prosecutors, thereby misleading and misdirecting the criminal prosecution of Mr.

Yell and precluding Mr. Yell’s attempts to free himself from his wrongful

imprisonment, including his 2008 RCr 11.42 Motion to Vacate, his 2011 CR 60.02

Motion for a New trial, and his 2016 CR 60.02 Motion for a New Trial.

       118.   By failing to provide exculpatory evidence in connection with these

post-conviction proceedings, Defendants violated Mr. Yell’s legal and constitutional

rights, including his right to rely on this evidence in support of his motions and

petitions for post-conviction relief, and caused his continued imprisonment and new

violations of his civil rights.

       119.   As a direct and proximate result of the Defendants’ actions, Mr. Yell’s

constitutional rights were violated, and he suffered from injuries and damages,

including but not limited to the loss of liberty, the threat of physical injury,

emotional pain and suffering, and other grievous and continuing injuries and



                                          26
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 27 of 37 PageID #: 27




damages as set forth above.

                                Count IV – 42 U.S.C. § 1983
                                  Supervisory Liability

      120.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      121.     The continued wrongful detention of Mr. Yell was caused by the

deliberate indifference and recklessness of supervisory Defendants, including but

not limited to Defendant Flowers and Defendant Pendergraf, when they failed to

adequately train and supervise the individual Defendants.

      122.     Specifically, these supervisory Defendants were personally involved in

the case against Mr. Yell and/or knew or, in the absence of their deliberate

indifference    and   recklessness,   should    have   known   of   their   subordinates’

unconstitutional actions and related misconduct in the case.

      123.     Furthermore, these supervisory Defendants failed to supervise the

Defendants in constitutionally adequate fire investigation and law enforcement

practices, thereby encouraging and/or permitting their employees and other

Defendants to engage in a reckless investigation, to coerce and fabricate false

inculpatory evidence and to withhold exculpatory and impeachment evidence, which

caused the constitutional deprivations suffered by Mr. Yell.

      124.     These failures in producing exculpatory evidence, fabrications and

other investigative procedures were contrary to accepted methods used by law

enforcement and fire investigation agencies.           The fact that the Defendant

supervisors failed to train and supervise their subordinates to ensure that they


                                           27
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 28 of 37 PageID #: 28




employed proper investigation procedures demonstrates deliberate indifference and

reckless disregard for Mr. Yell’s constitutional rights.

      125.      The personal involvement of the Defendant supervisors, through their

      actions and omissions, proximately and directly caused the constitutional

deprivations and grievous personal injuries suffered by Mr. Yell, including the

above-mentioned injuries and damages.

      126.      The misconduct described in this Count was objectively unreasonable,

      and was undertaken intentionally, with malice, willfulness, and deliberate

indifference to Mr. Yell’s clearly established constitutional rights.

                                  Count V - 42 U.S.C. § 1983
                                    Failure to Intervene

      127.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

      128.      In the manner described above, during the constitutional violations

described above, one or more of the Defendants stood by without intervening to

prevent the misconduct, despite having a reasonable opportunity to do so.

      129.      As a result of the Defendants’ failure to intervene to prevent the

violation of Mr. Yell’s constitutional rights, he suffered pain and injuries, as well as

emotional distress.

      130.      The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally and with willful indifference to Mr. Yell’s rights.

      131.      The misconduct described in this Count was undertaken pursuant to

the policy and practice of the municipal and government Defendants in the manner


                                            28
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 29 of 37 PageID #: 29




described more fully in preceding paragraphs and was tacitly ratified by

policymakers    for   the   municipal   and    government    Defendants      with   final

policymaking authority.

                              Count VI - 42 U.S.C. § 1983
                      Conspiracy to Deprive Constitutional Rights

      132.   Each of the Paragraphs of this Complaint is incorporated as if restated

      fully herein.

      133.   After the trailer fire, the Defendants reached an agreement amongst

themselves to frame Mr. Yell for the crime and to thereby deprive him of his

constitutional rights and his liberty to be continuously taken away from him, all as

described in the various Paragraphs of this Complaint.

      134.   In this manner, the Defendants, acting in concert conspired to

accomplish an unlawful purpose by unlawful means. In addition, these co-

conspirators agreed among themselves to protect one another from liability for

depriving Plaintiff of these rights.

      135.   In furtherance of the conspiracy, each of the co-conspirators committed

overt acts and was an otherwise willful participant in joint activity.

      136.   As a direct and proximate result of the illicit prior agreement

referenced above, Mr. Yell’s rights were violated, and he suffered financial damages,

as well as emotional distress and anguish, as is more fully alleged above.

      137.   Defendants, through affirmative acts or omissions, breached their legal

and constitutional duties to provide exculpatory evidence to Mr. Yell and state

prosecutors, thereby misleading and misdirecting the criminal prosecution of Mr.


                                          29
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 30 of 37 PageID #: 30




Yell and precluding Mr. Yell’s attempts to free himself from his wrongful

imprisonment, including his 2008 RCr 11.42 Motion to Vacate, his 2011 CR 60.02

Motion for a New Trial, and his 2016 CR 60.02 Motion for a New Trial.

      138.       By failing to come forward with exculpatory evidence in connection

with these post-conviction proceedings, Defendants violated Mr. Yell’s legal and

constitutional rights, including his right to rely on this evidence in support of his

motions and petitions for post-conviction relief, and caused his continued

imprisonment and new violations of his civil rights.

      139.      The misconduct described in this Count was undertaken with malice,

willfulness, and reckless indifference to the rights of others.

      140.      The misconduct described in this Count was undertaken pursuant to

the policies and practices of the Russellville Police Department and the other

municipal and government Defendants, in the manner described more fully in

preceding paragraphs, and was tacitly ratified by policymakers for the municipal

and government Defendants with final policymaking authority.

                            Count VII - 42 U.S.C. § 1983
                Monell Claim Against Defendant City of Russellville

      141.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

      142.      The actions of Russellville Defendants in fabricating and withholding

material exculpatory information from Mr. Yell and his counsel were undertaken

pursuant to the policies and practices of the City of Russellville Police Department,

described above, which were ratified by policymakers for the City of Russellville


                                            30
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 31 of 37 PageID #: 31




with final policymaking authority. These policies and practices included the failure

to adequately train, supervise, and discipline officers on the requirements

concerning the prompt disclosure of exculpatory evidence and the prohibition of

fabricating evidence.

      143.      The policies and practices described in this Count were maintained

and implemented by the Defendant City of Russellville with deliberate indifference

to Mr. Yell’s constitutional rights.

      144.      As a direct and proximate result of the Defendant City of Russellville’s

actions, Plaintiff’s constitutional rights were violated, and he suffered injuries and

damages, as set forth in this Complaint.

      145.      The Defendant City of Russellville is therefore liable for the

misconduct committed by its officers.

                           Count VIII - 42 U.S.C. § 1983
                  Monell Claim Against Defendant Logan County

      146.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

      147.      The actions of the Logan County Defendants in withholding and/or

destroying material exculpatory information from Mr. Yell and his counsel were

undertaken pursuant to the policies and practices of Logan County, described

above, which were ratified by policymakers for Logan County with final

policymaking authority. These policies and practices included the failure to

adequately train, supervise, and discipline officers on the requirements concerning




                                            31
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 32 of 37 PageID #: 32




the prompt disclosure of newly discovered evidence that exonerates a defendant

following his arrest or conviction.

      148.      The policies and practices described in this Count were maintained

and implemented by the Logan County Government with deliberate indifference to

Mr. Yell’s constitutional rights.

      149.      As a direct and proximate result of Defendant Logan County’s actions,

Plaintiff’s constitutional rights were violated, and he suffered injuries and damages,

as set forth in this Complaint.

      150.      The Defendant Logan County Government is therefore liable for the

misconduct committed by its employees.

                                  STATE LAW CLAIMS

                             Count IX – State Law Claim
                               Malicious Prosecution

      151.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

      152.      Through their actions as described above, the Defendants, acting as

investigators, caused Mr. Yell to be improperly subjected to a prosecution for which

there was no probable cause. These judicial proceedings were instituted and

continued maliciously, resulting in injury, and all such proceedings were ultimately

terminated in Mr. Yell’s favor, in a manner indicative of his innocence.

      153.      The Defendants accused Mr. Yell of criminal activities knowing those

accusations to be without genuine probable cause, fabricated evidence and withheld

the manner in which that evidence was fabricated, and made statements and


                                            32
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 33 of 37 PageID #: 33




reports to the police and/or prosecutors with the intent of exerting influence to

institute and continue the judicial proceedings.

      154.      The misconduct described in this Count was undertaken with malice,

bad faith, and in a wanton and reckless manner, and was undertaken by the

Defendants within the scope of their employment and/or official responsibilities.

      155.      As a result of this misconduct, Mr. Yell suffered injuries, including the

threat of bodily harm, and emotional pain and suffering as more fully alleged above.

                                  Count X – State Law Claim
                                    Negligent Supervision

      156.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

      157.      The municipal and government Defendants, as well as the supervisory

Defendants, including Defendant Pendergraf and Flowers, and other unknown

supervisors, had a duty to properly train and supervise officers, detectives,

investigators, and supervisor employees and to provide adequate policies to prevent

the above conduct, including fabricating evidence, fabricating statements, and

concealing material impeachment evidence.

      158.      The municipal and government Defendants and the supervisory

Defendants were grossly negligent in the training, supervision and discipline of the

Defendants, resulting in Mr. Yell being deprived of their right to due process, and

their right to be free from false arrest, false imprisonment, and wrongful conviction.

      159.      As a result of this misconduct, Mr. Yell suffered injuries, including the

threat of bodily harm, and emotional pain and suffering as more fully alleged above.


                                            33
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 34 of 37 PageID #: 34




                               Count XI – State Law Claim
                 Intentional or Reckless Infliction of Emotional Distress

      160.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

      161.      As described more fully in the preceding paragraphs, by framing Mr.

Yell for an arson and murder he did not commit, the Defendants intended to cause

emotional distress, or knew or should have known that their actions would result in

serious emotional distress.

      162.      In doing so, the Defendants’ conduct was extreme and outrageous,

going beyond all possible bounds of decency such that it can be considered

completely intolerable in a civilized society, and this conduct caused Mr. Yell to

suffer serious emotional distress of the nature no reasonable man or woman could

be expected to endure.

      163.      The misconduct described in this Count was undertaken with malice,

bad faith, and in a wanton and reckless manner, and was undertaken by the

Defendants within the scope of their employment.

      164.      As a result of this misconduct, Mr. Yell sustained injuries, including

emotional pain and suffering, as is more fully alleged above.

                              Count XII – State Law Claim
                        Negligent Infliction of Emotional Distress

      165.      Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.




                                           34
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 35 of 37 PageID #: 35




        166.    Pleading in the alternative, Defendants owed Mr. Yell a duty to refrain

from framing him for an arson and murder he did not commit and to conduct a legal

and thorough investigation of the fire.

        167.    In the manner described more fully above, the actions, omissions, and

conduct of the Defendants breached this duty.

        168.    The misconduct described in this Count was objectively unreasonable.

It was reasonably foreseeable that Defendants’ actions would cause any reasonable

person, including Mr. Yell, emotional distress.

        169.    In doing so, the Defendants’ conduct was extreme and outrageous,

going beyond all possible bounds of decency such that it can be considered

completely intolerable in a civilized society, and this conduct caused Mr. Yell to

suffer, and to continue to suffer, serious emotional distress of the nature no

reasonable man or woman could be expected to endure.

                               Count XIII – State Law Claim
                                       Negligence

        170.    Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

        171.    Defendants owed Mr. Yell a duty to refrain from framing him for a

crime he had not committed and to conduct a legal and thorough investigation of

the fire that resulted in the accurate identification of the cause and origin of the

fire.

        172.    In the manner described more fully above, the actions, omissions, and

conduct of Defendants breached this duty.


                                           35
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 36 of 37 PageID #: 36




        173.    The misconduct described in this Count was objectively unreasonable

and was undertaken in total disregard of the truth and Mr. Yell’s clear innocence.

        174.    As a result of Defendants’ misconduct described in this Count, Mr. Yell

suffered loss of liberty, great mental anguish, humiliation, degradation, emotional

pain and suffering, and other grievous and continuing injuries and damages as set

forth above.

                                        Count XIV
                                    Respondeat Superior

        175.    Each of the Paragraphs of this Complaint is incorporated as if restated

fully herein.

        176.    In committing the acts alleged in the preceding paragraphs, the

Defendants were members and agents of the Russellville Police Department, the

Scott County Sheriff’s Office, the Georgetown Fire Department, the Kentucky State

Police, the State Fire Marshal’s Office, and the Logan County Detention Center,

acting at all relevant times within the scope of their employment.

        177.    The above-names entities are liable as principal for all state law torts

committed by their agents.

        WHEREFORE, Plaintiff, ROBERT YELL, respectfully requests that this

Court    enter    judgment    in   his   favor    and       against   Defendants     CITY    OF

RUSSELVILLE, Kentucky; Russellville Police Officers KENNETH EDMONDS,

JOHN E. HIGGINS, CHAD EGGLESTON                               RONALD MILLS, and JIM

PENDERGRAF           and   other   unknown       officers     from    the   Russellville   Police

Department; Kentucky State Police Officers DAVID WEST, JAMAN CHILDERS,


                                             36
 Case 1:20-cv-00047-GNS Document 1 Filed 03/13/20 Page 37 of 37 PageID #: 37




and WILLIAM T. SMITH, in their individual capacities, and other unknown officers

from the KSP; Scott County Sheriff’s Deputy and Georgetown Fire Department

Caption BUSTER CANNON, in his individual capacities; SCOTT COUNTY,

Kentucky; the CITY OF GEORGETOWN, Kentucky; Deputy State Fire Marshal

ALAN GREGORY, in his individual capacity; the ESTATE OF STATE FIRE

MARSHAL SAMUEL JACK FLOWERS, in his individual capacity; LOGAN

COUNTY DETENTION CENTER JAILER BILL JENKINS, in his individual

capacity; and LOGAN COUNTY, Kentucky awarding compensatory damages,

attorneys’ fees, and costs against each Defendant, and punitive damages against

each of the individual Defendants, as well as any other relief this Court deems

appropriate.

                                  JURY DEMAND

      Plaintiff, ROBERT YELL hereby demands a trial by jury pursuant to Federal

Rule of Civil Procedure 38(b) on all issues so triable.

                                                      Respectfully submitted,

                                                      /s/ Amy Robinson Staples
                                                      One of Plaintiff’s Attorneys



Arthur Loevy
Jon Loevy
Michael Kanovitz
Elliot Slosar
Amy Robinson Staples
LOEVY & LOEVY
311 N. Aberdeen, 3rd Floor
Chicago, IL 60607
(312) 243-5900
Fax: (312) 243-5902

                                           37
